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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                      )            COURT MINUTES - CRIMINAL
                                               )              BEFORE: JOHN F. DOCHERTY
                       Plaintiff,              )                  U.S. Magistrate Judge
                                               )
 v.                                            )    Case No:          22-cr-76 (KMM/TNL)
                                               )    Date:             June 16, 2022
Shevirio Kavirion Childs-Young (1),            )    Videoconference
                                               )    Time Commenced:   10:40 a.m.
                       Defendant.              )    Time Concluded:   10:44 a.m.
                                                    Time in Court:    4 minutes


X DETENTION HRG ONLY


APPEARANCES:
 Plaintiff: Lindsey Middlecamp, Assistant U.S. Attorney
 Defendant: Manny Atwal, Assistant Federal Public Defender,
                     X FPD


On X Indictment

X Deft Ordered Detained - Govt to submit proposed order


Additional Information:
X Defendant consents to this hearing via video conference
Defendant arraigned, see arraignment minutes and order.




                                                                                       s/nah___________
                                                                         Signature of Criminal Duty Clerk
